                                                               4




Case 3:14-cr-00085-KAC-DCP   Document 484    Filed 04/20/15   Page 1 of 6   PageID
                                   #: 2506
Case 3:14-cr-00085-KAC-DCP   Document 484    Filed 04/20/15   Page 2 of 6   PageID
                                   #: 2507
Case 3:14-cr-00085-KAC-DCP   Document 484    Filed 04/20/15   Page 3 of 6   PageID
                                   #: 2508
Case 3:14-cr-00085-KAC-DCP   Document 484    Filed 04/20/15   Page 4 of 6   PageID
                                   #: 2509
Case 3:14-cr-00085-KAC-DCP   Document 484    Filed 04/20/15   Page 5 of 6   PageID
                                   #: 2510
Case 3:14-cr-00085-KAC-DCP   Document 484    Filed 04/20/15   Page 6 of 6   PageID
                                   #: 2511
